       Case: 1:18-cv-04510 Document #: 1 Filed: 06/28/18 Page 1 of 28 PageID #:1

                                                                                     FILED
                           UNITED STATES DISTRICT COURT                                JUll 2 g zmgvrz
                       FOR THE NORTHERN DISTRICT OF ILLINOIS                                    BRUTON
                                                                                 -. -_THOMASG.
                                                                                 cLERK  u.s. DtsrRtcr   06unr

SECURITIES AND EXCHANGE                                       SD Miss. Civil Action No.
COMMISSION,                                                  3:18-cv-252-CWR-FKB

          Plaintiff,
                                                             8-cv-04510
                                                          1 :1
                                                          Judge Virginia M. Kendall
                                                          Magistate Judge Young B. Kim
ARTHUR LAMAR ADAMS AND MADISON
TIMBER PROPERTIES, LLC




           NOTTCE OF RECETVERSHTP PURSUANT TO 28 U.S.C. $754 AND
        REQUEST FOR THE ISSUANCE OF A MISCELLANEOUS CASE NUMBER

         Pursuant to 28 U.S.C. 5 754,24 Alysson L. Mills, the appointed Receiver in Security and

Exchange Commission v. Arthur Lamar Adams, et al., Southern District of Mississippi, Case No.

3:18-cv-00252-CWR-FKB, submits the attached Complaint, Exhibit 1, and Order Appointing

Receiver, Exhibit 2, for filing in this Honorable Court as a miscellaneous action.

         The Receiver respectfully requests that this Honorable Court assign a miscellaneous action

number to this matter and file the Complaint and Order Appointing Receiver accordingly.




24
  28 U.S.C. $ 754 provides, o'Such receiver shall, within ten days after the entry of his order of
appointment, file copies of the complaint and such order of appointment in the district court for
each district in which property is located."




1337 532v.1
       Case: 1:18-cv-04510 Document #: 1 Filed: 06/28/18 Page 2 of 28 PageID #:2



DATED: June27,2018

                                              Respectfully Submitted,

                                              /s/ Jason W. Burse
                                               Brent B. Barriere, LA Bar No. 2818
                                               Jason W. Burge, LA Bar No. 30420
                                               FISHMAN HAYGOOD, LLP
                                               201 St. Charles Avenue, 46th Floor
                                              New Orleans, Louisiana 7 01,7 0
                                               Telephone: (504) 586-5252
                                              bb arier e@fi shm anh aygo o d. com
                                              jburge@fi shmanhaygood. com

                                              Counselfor Alysson L. Mills, appointed
                                              Receiver in Security and Exchange
                                              Commission v. Arthur Lamar Adams, et al.,
                                              Southern District of Mississippi, Case No.
                                              3 : I 8-cv-00 2 5 2 -CWR-FKB




133'7532v.1
    Case: 1:18-cv-04510 Document #: 1 Filed: 06/28/18 Page 3 of 28 PageID #:3
     Case 3 : 1-8-cv-00252-CWR-FKB Document 3 Frled 04l2OlLB Page 1 of 1-0




                       UNITBD STATES DISTRICT COURT
                      SOUTHBRN DISTRICT OF MISSISSIPPI
                            I{ORTHBRI'{ DIVISION




SECURII'IBS AND EXCHANCE
COMMISSION,

                              PIaintitT,

                         Y.                          case No.3.f   *<V-}bi,*fff# f X€
ARTHUR LAMAR ADAMS ATiD
MADISON TIMBER PROPIRTIES, LLC,                      JURY DENTANI)

                              Defendants,




                                       COMPLAI}IT

       Plaintifl Securities    and Exchange Commission (the "Cor:rmission"), files its

complaint and alleges that:

                                           SUMMARY

       1.     Beginning in approximately 2004, Defendant A$hur: Lamar Adanrs

("Adams"), through his wholly-owned corlpany. Madison Tinrber Propefiies, LLC

("MT Properties"), con:mitted securities Iiaud by operating    a Ponzi scheme.

Adarns and MT Properties have raised at least S85 million from over 150 investorx

in multiple states.
      Case: 1:18-cv-04510 Document #: 1 Filed: 06/28/18 Page 4 of 28 PageID #:4
       Case 3:1-8-cv-00252-CWR-FKB Document 3 Filed 04/20118 Page 2 of LO




        2.    Adams told investors that their money would be used by MT

Properties to acquire timber-harvesting rights from various land owners on behalf

of investors. The company allegedly would later harvest the timber and pay

investors with the profits. In fact, Adams operated the venture as a Ponzi scheme,

paying earlier investors with funds obtained from newer investors. He also used

invested funds for a variety of inappropriate ends, including personal expenses and

to fund real estate investments.

        3.    By the conduct detailed in this Complaint, Adams and MT Properties

violated Section l7(a) of the Securities Act of 1933 ("Securities Act") U5 U.S.C. $

77q(a)1, Section 10(b) of the Securities Exchange Act    of 1934 ("Exchange Act")

ll5   U.S.C. $ 78j@)l and Rule l0b-5   [7 C.F.R. $ 240.10b-5]   thereunder. Unless

enjoined, Adams and MT Properties are likely to commit such violations again in

the future.

        4.    The Commission seeks a judgment from the Court: (a) freezing

defendants' assets pending final adjudication of the Commission's claims; (b)

finding that Adams and MT Properties violated the antifraud provisions of the

federal securities laws; (c) enjoining Adams and MT Properties from engaging in

future violations of the antifraud provisions of the federal securities laws; (d)

ordering Adams and MT Properties to disgorge his ill-gotten gains described

herein, with prejudgment interest; and (e) ordering Adams and MT Properties to


                                           2
    Case: 1:18-cv-04510 Document #: 1 Filed: 06/28/18 Page 5 of 28 PageID #:5
     Case 3:18-cv-00252-CWR-FKB Document 3 Ftled O4l2OlL8 Page 3 of 1-0




pay a   civil monetary penalty pursuant to Section 20(d) of the Securities Act   [5
U.S.C. $ 77(d)l and Section 2l(d) of the Exchange Act [15 U.S.C. $ 78u(d)].

                           JTJRISDICTION AIYD VENUE

        5.    The Commission brings this action pursuant to Sections 20(b) and

20(d) of the Securities Act   [5   U.S.C. $$ 77(b) and 77t(d)] and Section 21(d) the

Exchange Act [15 U.S.C. g 78u(d)].

        6.    The Court has jurisdiction over this action pursuant to Sections 20(b),

20(d) and22(a) of the Securities Act     [5 U.S.C. $g 77(b), 77t(d), and77v(a)],      and

Sections   2l(d), Zl(e), and27 of the Exchange Act    [5   U.S.C. gg 78u(d), 78u(e),

and 78aal

        7.    Adams and MT Properties, directly or indirectly, used the means or

instruments of interstate commerce, the mails, or the facilities of a national

securities exchange in connection with the acts described herein.

        8.    Venue is proper under Section 22 of the Securities Act    [5 U.S.C. g
77v), Section 27 of the Exchange Act     [5   U.S.C. g 78aa] and 28 U.S.C. $   t39l

because a substantial part of the events or omissions giving rise to the claims made

herein occurred in the Southem District of Mississippi. In addition, Adams resides

in, and MT Properties has its principal place of business in, Madison MS, which is

within the Southern District.
   Case: 1:18-cv-04510 Document #: 1 Filed: 06/28/18 Page 6 of 28 PageID #:6
    Case 3:l-8-cv-00252-CWR-FKB Document 3 Ftled O4l2OlLB Page 4 of 10




                                      DEFENDANTS

      9.        Arthur Lamar Adams,     age 58, lives in Madison, Mississippi. He is

the founder and president of MT Properties.

       10.      Madison Timber Properties, LLC is a Mississippi limited liability

company that has its principal place of business in Madison, Mississippi. It is

wholly-owned by Adams.

                               STATEMENT OF FACTS

      11.    MT Properties purports to be a timber harvesting company.

      12.    Starting in at least 2004, Defendants began raising funds through the

sale of promissory note investments. The sale of these promissory notes has

continued until   April   19, 2018.

      13.    In general, the promissory notes are for a one-year period and offer an

annual return   of 12%-15%, which is paid back over the course of the year. At the

end of the yatr, investors can either have their principle retumed or rolled over into

a new investment.


      14.    When soliciting investors, Defendants told investors that MT

Properties would use the funds to secure and harvest timber from specific tracts   of

land that owned by third parties. The tracts of land were usually located in

Alabama, Florida, or Mississippi.




                                          4
    Case: 1:18-cv-04510 Document #: 1 Filed: 06/28/18 Page 7 of 28 PageID #:7
     Case 3:18-cv-00252-CWR-FKB Document 3 Frled O4l2OlL8 Page 5 of 1-0




       15.    Defendants also told investors that they would generate the

investment returns from the sale of the harvested timber. Finally, many investors

were told that they had the sole rights to the specific land tracks, and that no one

else would be able to harvest the timber on that land.

       16. The Proposed Defendants raised at least $85,000,000 through the sale
of these securities to approximately 150 investors located primarily in the

southeastern United States.

       17.    As part of this "Timber Scheme" the Proposed Defendants provides

the investor with a (1) promissory note; (2) timber deed and cutting agrcement; (3)

security agreement; (4) tract summary that includes the value of the timber on the

property; and (5) a title search certificate.

       18.    MT Properties never obtained the harvesting rights to the land   as


claimed. In most cases, Adams forged the timber deed and cutting agreements.

Adams also forged the documents purportedly showing the value of the timber on

the land tracks. Further, Adams would pledge the same land tracts (which he did

not actually have the rights to) to multiple parties. Finally, in most cases, the

specific land tracks did not have the value of timber as promised or did not in fact

have any harvestable timber.

       19. Instead of using the investor funds generated by the Timber Scheme
to acquire timber rights and harvest the timber, Adams used the funds for his own
    Case: 1:18-cv-04510 Document #: 1 Filed: 06/28/18 Page 8 of 28 PageID #:8
     Case 3:l-8-cv-00252-CWR-FKB Document 3 Filed 04l20lLB Page 6 of L0




benefit. Additionally, Adams began constructing real estate developments near

Oxford and Starkville, Mississippi. Investors were not told about this real estate

development and had no knowledge that their funds would be used support it.

Further, the investors have no legal interest in the real estate developments.

        20.     In addition, Defendants used funds from new investors to pay the

returns owed to existing investors.




 Violations of Section 10@) of the Exchange Act and Rule 10b-5 Thereunder
                  [ls U.S.C. $ 78j(b); 17 C.F.R. $ 240.10b-sl
        21.    The Commission realleges and reincorporates paragraphs      I through

20 as   if fully set forth herein.

        22.    Since approximately 2004, Defendants, in connection with the

purchase or sale of securities, by use of means or instrumentalities of interstate

commerce or of the mails, or of any facility of any national securities exchange,

directly or indirectly:

               (a)     made untrue statements of material facts and omitted to state

        facts necessary to make the statements made, in light of the circumstances

        under which they were made, not misleading; or

               (b)     engaged in acts, practices or courses of business which

        operated or would operate as a fraud or deceit.




                                            6
    Case: 1:18-cv-04510 Document #: 1 Filed: 06/28/18 Page 9 of 28 PageID #:9
     Case 3:18-cv-00252-CWR-FKB Document 3 Flled O4l2OlL8 Page 7 ot LO




          23.   Defendants' misrepresentations, omissions, and acts, practices or

courses of business which operated as a fraud or deceit were material.

          24.   Defendants acted with scienter by knowingly or with severe

recklessness making the above-referenced misrepresentations and omissions, and

engaging in acts, practices or courses of business which operated as a fraud or

deceit.

          25.   By reason of the actions alleged herein, Defendants violated Section

10O) of the Exchange Act        [5    U.S.C. $ 78j(b)] and Rule l0b-5 thereunder   ll7
c.F.R. $ 240.10b-sl.

        COUNT II _FRAUD IN THE OFFER OR SALE OF SECTruTIES

                    Violations of Section 17(a) of the Securities Act
                                     US U.S.C. $ 77q(a)(1)l


          26.   The Commission realleges and reincorporates paragraphs      I through

20 as   if fully set forth herein.

        27. Since approximately 2004, Defendants, directly or indirectly, in the
offer or sale of securities, by use of any means or instruments of transportation or

communication in interstate commerce or by use of the mails, employed a device,

scheme or artifice to defraud.

          28.   Defendants' misrepresentations, omissions, and acts, practices or

courses of business which operated as a fraud or deceit were material.


                                               7
  Case: 1:18-cv-04510 Document #: 1 Filed: 06/28/18 Page 10 of 28 PageID #:10
    Case 3:18-cv-00252-CWR-FKB Document 3 Frled O4l2OlL8 Page 8 of 10



      29.    Defendants acted with scienter by knowingly or with severe

recklessness making the above-referenced misrepresentations and omissions, and

engaging in acts, practices or courses of business which operated as a fraud or

deceit. Defendants also acted negligently.

      30. By reason of the actions alleged herein, Defendants violated Section
l7(a) of the Securities Act [15 U.S.C. $ 77q(a)].

                             PRAYER FOR RELIEF

      WHEREFORE, the Commission respectfully requests that the Court enter a

judgment:

      (i) finding that Defendants violated the antifraud provisions of the federal

securities laws as alleged herein;

      (ii) permanently enjoining Defendants from violating Section l7(a) of the

Securities Act [15 U.S.C. $ 77q(a)], Section l0(b) of the Exchange Act    [5 U.S.C.
$ 78j(b)l and Rule   l0b-s thereunder   [7 C.F.R. $ 240.10b-5];
      (iii) freezing defendants'   assets, expediting discovery and preventing the

destruction of documents pending resolution of this litigation

      (iv) ordering Defendants to disgorge their ill-gotten gains and to pay

prejudgment interest thereon;
  Case: 1:18-cv-04510 Document #: 1 Filed: 06/28/18 Page 11 of 28 PageID #:11
    Case 3:1-8-cv-00252-CWR-FKB Document 3 Flled O4l20lL8 Page 9 of 10




        (v) ordering Defendants to pay a civil monetary penalty pursuant to Section

20(d) of the Securities Act [15 U.S.C. $ 77t(d)] and Section       2l(d) of the Exchange

Act   [5 U.S.C. $ 78u(d); and
       (vi) granting such other relief   as this Court may deem   just and proper.

                          DEN{AND FOR JTIRY TRIAL

       Pursuant to Rule 38 of the Federal Rules of     Civil Procedure, the

Commission demands trial by jury in this action of all issues so triable.


Dated this 20th day of April, 2018.

                                          Respectfu   lly submitted,


                                          sl W. Shawn Murnahan
                                          W. Shawn Murnahan
                                          Senior Trial Counsel
                                          Georgia Bar No. 529940
                                          Tel: (404) 842-7669
                                          Email : murnahanw@sec.gov

                                          M. Graham Loomis
                                          Regional Trial Counsel
                                          Georgia Bar No. 457868
                                          Tel: (404) 842-7622
                                          Email: loomism@sec.gov

                                          Justin Delfino
                                          Senior Counsel
                                          Georgia Bar No. 570206
                                          Tel: (404) 942-0698
                                          Ernail: delfinoj@sec.gov

                                          COUNSEL FOR PLAINTIFF

                                             9
Case: 1:18-cv-04510 Document #: 1 Filed: 06/28/18 Page 12 of 28 PageID #:12
  Case 3:18-cv-00252-CWR-FKB Document 3 Frled 04l2OlL8 Page 10 of 10




                                  Securities and Exchange Commission
                                  Atlanta Regional Office
                                  950 East Paces Ferry Road, N.E., Suite 900
                                  Atlanta, GA 30326-1382
                                  Tel (main): (aOa) 842-7600
                                  Fax: (703) 813-9364

                                  OF COI.JNSEL

                                  D. Michael Hurst, Jr.
                                  United States Attorney

                                  s/Kristi H. Johnson
                                  Kristi H. Johnson
                                  Assistant United States Attorney
                                  MS BarNo. 102891

                                  Marc Perez
                                  Assistant United States Attorney
                                  WA Bar No. 33907

                                  Civil Division
                                  United States Attorney's Office
                                  Southern District of Mississippi
                                  501 East Court Street, Suite 4-430
                                  Jackson, MS 39201
                                  Tel: (601) 973-2887
                                  Fax: (601) 9654409




                                    l0
                              Case: 1:18-cv-04510 Document #: 1 Filed: 06/28/18 Page 13 of 28 PageID #:13
                                c as e 3 : 1 8 - cv - 0 0 2 s 2 - cUhFff
JS44 (Rcv.06/17)

        .l.r civil
                                                                         c$f [Tt Slfuh f 9,91lrro !!? pW                                      i   |

                                                                                                                                                                                :                            Frs
                                                                                                                                                                                                           - I- l\lf
Thc  JJ 44
I nc JS      crYu cover
                   Gover shcet
                         sncer and rnc information
                               anq thc rllrorlnauon contained
                                                    conralneq hcrcin
                                                              nerc]n neithcr
                                                                     nellncr rrolace     supplcment Ine ll[ng ano servtge orpleaotnqs or olner DaDers as rEoult€,
                                                                                     not suonlement
                                                                             rEptace nor                                                                     rired bv lawY6xceot as
provided by local rulcs
providedbJlocal            ofcourr. This.form,approvedbytheJudicial
                     rulcsof-courr.                                                   ofthi United I
                                                                          ConfercnceofthiUnitedStatesinSeptembcrlgT4i
                                     This form, approved by the Judicial Confercnce                                           isnquircdforthe'uieofrheClerkerk of'Court for thl
purpose of initiaiing the civil docket sheet. (sEE TNSTRUCTI0NS oN NErT ptGE oF THts F0RM.)

I. (a) PLAINTIFFS                                                                                                          DEFENDAI{TS
 U.S. Securities and Exchange Commission                                                                                 ARTHUR LAMAR ADAMS AND MADISON TIMBER PROPERTIES,
 950 East Paces Ferry Road, N.E., Suite 900,
     (b)      County of nesidence of First Lisred Plainriff                                                                         of Rcsidence of First Listed               Defendanr Madison Co.. MS
                                        (EXCEPT tN U.S.    PUtNT\FF                                                                                 (,N U.S, PIJINTIFF ClSES ONLY)
                                                                                                                                        IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                        THE TMCT OF LAND INVOLVED.


     (C)     Anorncys (Fr'u Nme, Addras, and Telephme                Num                                                                 (lf Knobn)
 W. Sharm Mumahan (9h:4A4-842-7669), M.
 U.S. Secudties and Exchange Commission                                                                                        M. Colette, 109 E. Capitol Street, Suite 475, Jackson, MS 39201
 950 East Paces Ferry Road, N.E., Suite 900, Atlanta, GA 30324                                                           (601) 3316277

II. BASIS OF JURISDICTION frr., on "x" in one Box onty)                                                    III. CITIZENSHIP OF PRINCIPAL                                        PARTIES        lptoce an "x" in oac Bulor ptaintif
                                                                                                                       (For Divreity C6?s     Olb)                                                and One B* lor Dcfendant)
0i I u.s. Govemrncnt O 3 FodcralQucstion                                                                                                               PTF        DEF                                               PTF   DEF
              Plaintifr                                 A.S. Golenment Nu a Pury)                              Citizn    of This Sarc                  ol         o      r    lncorporarcdorPrincipal  Phcc          O4          Cl 4
                                                                                                                                                                                of Busin6s In This Slarc

O2 U.S.6ovcrmrnt                            O4      Divenity                                                   CitizenofAnorhersrarc O                     t      O 2         lncorporatedaay'PrincipalPlacc           O5 O5
    Dcfcadad                                            (lndicute Citizeuhip ofPartier in hcn,   lll)                                                                            of Busines In Another Sotc

                                                                                                               Cirizcnorsubjcctofa O                       3      O 3 ForeignNarion                                    A6        c,6

IV. NATURE OF SUIT                                 u    "X" in   One Bor                                                                                              Click herc for:

o    I   l0 lnsuancr                           PERSONALINJURY                    PERSONALTNJURY                   625 Drug Rclatcd Scizurc                      a22 Appcel 28 USC I 58               375 Falsc Claimr Acr
o    120   Mrinc                             3l0Airplarc          Cl 365 Pcronal Injury -                             ofPropcrty 2l USC 881                     423 Withdraml                    O   376 Qui Tam (3 I USC
o    130 Millcr Act                          315 Airylane Pmduct          Producr Liability                       690   othcr                                       28 USC t57                           3729(a))
o    I 40 Ncgotiablc lfftnrrncnt                  Liability       O 36THcalthCar!r'                                                                                                                  400 Sotc Rcapportiormcnt
o    I   50 Rccovcry of Ovcpaymcor           320 Assault, Libcl &        Pharnaccutical                                                                                                              410 Antihrn
           & Eofortcmcnt of                       Slandcr                Pcrsonal lniury                                                                                                             430 Banb and Banling
o l5l Mcdicarc Act                           330 Fodcnl Employers'       Producr Liability                                                                                                           450   Conrrrrcc
o    152   R€ovcry of Dcfarltcd                   Liability       O 36EAsbcstosPcrsonal                                                                                                         O 460Dcponation
           Studarlffi                        340 Marinc                   lnjury Product                                                                                                        O 470 Rrckacct Influcnccd        and
         (Excludcs Vetcrans)                 345 Marinc Produa            Liability                                                                                                                   Corrup Organizatioos
O    153 Rcovcryof Ovcrpoymcnt                    Liabiliry         PERSoNAL PROPERTY                                                                                                           O 4t0ConsunrcrCcdit
         ofVdcran's Ecncfits                 3s0Molorvchiclc O3T0OthcrFraud                                       7I   0 Fair L-obor Studards                   861 HrA (r39sff)                O 490 Cablc,rSat TV
O    160 Stockholdcrs' Suils                 355 Motor Vchiclc    c, 371 Truth in Lcnding                                Acl                                    862 Bleck Lung (923)            CX 8.1i0 Sccuritics/CommodilicV
O lg0othcrcoilraci                               Produd Liability O 380 Ohcr Pcrsonal                             720 Labor/MstrrgctrETt                        t63 DlwC/Dlww (405(9))                   Exchangc
O 195 ConEao Produd Lisbility              O 360 Ohcr Pcrsonal           Pmpcriy DarBgc                               Rclations                                 E64 SSlDTitlc XV!               O    890 Olhcr Sbtutory Acliors
O l96Fmhisc                                      lnjury           O 385 Propcrty Damagc                           740 Railway Labor Acr                         E65 RSI (405(s,))               O    891 Agricultural   Aas
                                           O 362 Pcronal lnjury -        PrDducr Liability                        751 Family and Mcdical                                                        O    S)3 Environrrrnul Manrrs
                                                                                                                       krve Act                                                                 O    895 Frecdomof lnfornatior
                                                                                                                  79O Oher Labor Lirigation                                                                AGt
Cl 2l0LandCon&mstion                       O ,140 othcr Civil Rights             Habcas Corpus:                   791 Enploycc Rairrrnt                         E70 Taxcs (U.S. Plaintiff       O E96A6imrion
O    220 Fortclogrr!                       O ,l4l Voting                         463 Alien Detainee                   lnconr Scqrrity Acl                           or Dcfendant)               O 899 Adminisrstivc      Prcccduc
O    230 Rcol Irasc & Ejcarncnt            O 442 Employment                      510 Motions to Vacstc                                                          871 IRS-Third Pany                         AcURcvicw orAppcal of
O 240To[srohnd                             O ,143 Housing/                           Scilcncc                                                                       26 USC 76{X)                           Agcncy Dccision
O 245 Tofi Produd Liability                        Acconuno&tions           O    530Gcncral                                                                                                          950 Consilutionality   of
O    290 AIt Ohcr Rcal Propcny             O   445 Arrcr. WDisabilitics    - O   515 Dcalh Pcnalty                                                                                                       Statc Stalucs
                                                   Enploymnt                   Othcr:
                                           O   446 Amcr. w/Disabililics    - O 540 Mandamus & Ohcr                465 Olhcr lmmigration
                                                   othcr                     O 550civil RighB                           Actiore
                                           O 448 Education                  O    555 Prison Condition
                                                                            O    560 Civil DeLinec -
                                                                                     Conditions of
                                                                                     Confincmcnl

V. ORIGIN                 (Ptoccoa "X" in Onc Bu    On[)
E(   I Original                O   2   Removcd from               o3       Rcmandcd from                04 Reinstatedor O                5   Transfcrred         from O 6                                    O E Multidistrict
           Procccding                  Statc Court                         Appcllate Coun                      Reopened                                    Dislrict                                               Litigation -

                                                       thc U.S, Civil Statute undcr which               arc ftling 1Do not clte                       s,oral6   aal*     dhEtslry)'.

VI. CAUSEOFACTION                                       dcscription ofcause:
                                                 Violations of the antifraud                              of lhe federal securities laws
VIT. REQUESTED                     TN                  CHECK IFTHIS IS A CLASS ACTION                           DEMANDS                                                  CHECK YES only if demsndcd in complaint:
     COMPLAINT:                                        LTNDER RULE 23, F.R.Cv.P.                                                                                         JURYDEMAND:                  I(Yes            ONo
VIIT. RELATED CASE(S)
                                                   (*ei6rructioni):
            IF ANy                                                          JUDGE                                                                               DOCKET NUMBER
DATE                                                                             SICNATUREOFATTORNEY OF RECORD
04112012018                                                                   s/ W. Shawn Mumahan

     RBCEIPT#                          AMOTJNT                                      APPLYING IFP                                                                                       MAG. JUDGE
Case: 1:18-cv-04510 Document #: 1 Filed: 06/28/18 Page 14 of 28 PageID #:14
  Case 3:18-cv-00252-CWR-FKB Document 33 Filed 06l22lLB Page L of 15




                          No.   3 :L   S-CV -00252-CWR-FKB

          SEcuRrrrEs & ExcueNcg CorrarrarssroN,
                                                               Plaintiff,



          AnrHun LeueR    Apeut
          et al.,
                                                             Defendants.




                          ORpsn Appomrmc RECETvER



              Before Cant-roN W. Resvst District Judge.
          Defendants engaged in a multi-million dollar Ponzi scheme
          that defrauded hundreds of investors. This order appoints a
          receiver to manage Defendants' estates and describes the
          scope of receivership.

          Thirty applicants submitted receivership applications to the
          Court. This pool of men and women was extremely impres-
          sive and unusually diverse. Applicants included lawyers
Case: 1:18-cv-04510 Document #: 1 Filed: 06/28/18 Page 15 of 28 PageID #:15
  Case 3:l-8-cv-00252-CWR-FKB Document 33 Frled O6122118 Page 2 ot L5




          (ranging from solo practitioners to partners in law firms
          larger than any in Mississippi), accountants, academics, and
          other professionals from a dozen states across the country.
          Out-of-state applicants recognized the talents of Mississippi
          attorneys by proposing substantive alliances with them. The
          Secretary of State was right to support an open application
          process, without which many would never have had the op-
          portunity to reveal their talents to this Court. Applicants of-
          fered compelling reasons for their appointment. The breadth
          and depth of their experiences made this Court's choice a dif-
          ficult one.
          The Court considered many factors when screening applica-
          tions. A number of applicants lacked the appropriate profes-
          sional experience for this case. Some with the right experience
          proposed hourly rates that were too high to justify, including
          rates of over $1,000 an hour. Others proposed to work with
          partner professionals less qualified than others in the pool.
          Occasionally, applicants or the firms they partnered with had,
          in practicing before this Court, demonstrated that they are un-
          suited to serve as a receiver.
          Nearly all candidates, however, proposed laudable and bold
          steps to ensure that their recruitment and retention policies
          were inclusive. The Court was particularly impressed with
          members of the Mississippi bar who crossed long-established
          lines to forge entrepreneurial partnerships. The diversity of
          the applicant pool and the creativity of the respective pro-
          posals is worth noting.

          Encouraging diversity in the judiciary is not a cure-all for the
          lack of that feature in the broader legal profession. Nor is en-
          couraging diversity destined to result in true representation,
Case: 1:18-cv-04510 Document #: 1 Filed: 06/28/18 Page 16 of 28 PageID #:16
  Case 3:l-8-cv-00252-CWR-FKB Document 33 Flled OGl22l!8 Page 3 of 15




          rather than tokenism masquerading as such. Nevertheless, in
          order to do justice, the judiciary must incorporate a wide ar-
          ray of experiences, facts, and perspectives into its deci-
          sionmaking processes - including the decisionmaking pro-
          cess of receivers, who act as extensions of the courts. When
          courts hire and appoint individuals to assist in their missiory
          they must ensure those opportunities are extended to all
          whom the judiciary serves. As this case proves, doing so en-
          hances - rather than diminishes - the quality of the applicant
          pool.
          Of all the candidate qualifications the Court took into account,
          perhaps the most important was the ability to exercise disin-
          terested and informed judgment. This case involves what
          may be the largest Ponzi scheme in Mississippi's history, one
          in which many Mississippi residents and entities are entan-
          gled. Mississippi is a small state. The Receiver and her staff
          must be close enough to the state to understand its workings.
          But the Receiver must also be distant enough to preserve her
          impartiality, a key trait in a process that may involve clawing
          back funds from the connected and powerful. Many other-
          wise capable candidates were unequipped to navigate the real
          and apparent conflicts of interest their appointment would
          create.l
          After weighing the applicants' professional       experience,
          hourly rates, candor, judgment, and other qualifications, the
          Court believes that Alysson L. Mills, a member of the Missis-
          sippi bar and partner at the Louisiana firm of Fishman


          1   This should come as no surprise to the parties, given their discussion of
          a specific candidate's conflicts of interest at the hearing on this matter.
Case: 1:18-cv-04510 Document #: 1 Filed: 06/28/18 Page 17 of 28 PageID #:17
  Case 3:18-cv-00252-CWR-FKB Document 33 Flled O6l22lLB Page 4 of 1-5




         Haygood, LLP, is best suited to be Receiver. Mills is a gradu-
         ate of the University of Mississippi School of Law, and clerked
         for Fifth Circuit Judge E. Grady Jolly. She has extensive fed-
         eral court experience, including representation of bankruptcy
         trustees and securities purchasers in suits involving fraud and
         mismanagement. She has authored Supreme Court briefs and
         frequently argues in the Fifth Circuit.
         Mills has proposed an experienced team of lawyers from Fish-
         man Haygood to serve as her counsel, including individuals
         who have handled matters involving Ponzi schemes, complex
         bankruptry disputes, and securities arbitration. Her team has
         represented individuals, companies, pension funds, hospi-
         tals, cities, and states. Firm partner Brent B. Barriere's experi-
         ence makes him particularly qualified to serve as primary
         counsel to the Receiver. Most team members will bill at rates
         not to exceed $275 an hour, while two partners will bill at
         rates not to exceed $325 an hour.

         The Court is satisfied that Mills has the experience, judgment,
         and talent to perform the duties and responsibilities of a re-
         ceiver and act as an officer of the Court. Therefore, it is hereby
         ORDERED that Alysson L. Mills is appointed to serve with-
         out bond as Receiver for the estate of the Receivership De-
         fendants, Arthur Lamar Adams and Madison Timber Proper-
         ties, LLC. The Receiver shall take possession of the entirety of
         the Receivership Defendants' assets. The Receiver is author-
         ized to retain the services of Fishman Haygood, LLP and
         other appropriate professionals. The scope of receivership is
         as follows.
Case: 1:18-cv-04510 Document #: 1 Filed: 06/28/18 Page 18 of 28 PageID #:18
  Case 3:1-8-cv-00252-CWR-FKB Document 33 Frled OGl22l18 Page 5 of 15




                                          I
                      General Powers & Duties of Receiver
          The Receiver shall have all powers, authorities, rights, and
          privileges now possessed by the officers, managers, and in-
          terest holders of and relating to the Receivership Defendants,
          in addition to all powers and authority of a receiver at equity
          under all applicable state and federal law in accordance the
          provisions of 28 U.S.C. SS 754, 959, and 1.692, and Fed. R. Civ.
          P. 66, and shall assume and control the operation of the Re-
          ceivership Defendants and shall pursue and preserve all of
          their claims.
          No person holding or claiming any position of any sort with
          the Receivership Defendants shall possess any authority to act
          by or on behalf of the Receivership Defendants, with the ex-
          ception that attorneys representing Defendant Adams in U.S.
          a. Adams, Case No.3:18-CR-0088-CWR-LRA (S.D. Miss) may
          continue their representation.
          The Receiver and her agents, acting within the scope of such
          agency as Retained Personnel, are entitled to rely on all out-
          standing rules of law and Orders of this Court and shall not
          be liable to anyone for their own good faith compliance with
          any order, rule, law, judgment or decree. In no event shall the
          Receiver or Retained Personnel be liable to anyone for their
          good faith compliance with their duties and responsibilities
          as Receiver or Retained Personnel, nor shall the Receiver or
          Retained Personnel be liable to anyone for any actions taken
          or omitted by them except upon a finding by this Court that
          they acted or failed to act as a result of malfeasance, bad faittu
          gross negligence, or in reckless disregard of their duties.
Case: 1:18-cv-04510 Document #: 1 Filed: 06/28/18 Page 19 of 28 PageID #:19
  Case 3:18-cv-00252-CWR-FKB Document 33 Filed OGl22l18 Page 6 of 15




          The Receivership Defendants shall indemnify, defend, and
          hold harmless the Receiver and the Retained Personnel from
          and against all actions (pending or threatened and whether at
          law or in equity in any forum), liabilities, damages, losses,
          costs, and expenses, including but not limited to reasonable
          attorneys' and other professionals'fees, arising from conduct
          or omission of the Receiver and the Retained Personnel under
          the terms of this Order, except for any such conduct or omis-
          sion adjudged by this Court to be the result of gross negli-
          gence or willful misconduct.

          Subject to the specific provisions below, the Receiver shall
          have the following general powers and duties:
             (1) to use reasonable efforts to determine the nature,
             locatiory and value of all property interests of the Re-
             ceivership Defendants, including but not limited to
             monies, funds, securities, credits, effects, goods, chat-
             tels, lands, premises, leases, claims, rights and other as-
             sets, together with all rents, profits, dividends, interest
             or other income attributable thereto, of whatever kind
             and description, wherever located, which the Receiv-
             ership Defendants owry possess, have a beneficial in-
             terest ln, or control directly or indirectly ("Receiver-
             ship Property" or, collectively, the "Receivership Es-
             tate"), including, but not limited to, (i) the following
             bank accounts: First Bank of Clarksdale, Account No.
             7375736, Southern Bancorp Account Nos. 6454774,
             6454367, and 6454359, and River Hills Bank Account
             No. 6755060 and (ii) Defendant Adams'principal resi-
             dence located at 134 Saint Andrews Drive, ]acksory
             Mississippi,39271;
Case: 1:18-cv-04510 Document #: 1 Filed: 06/28/18 Page 20 of 28 PageID #:20
  Case 3: 18-cv-00252-CWR-FKB Document 33 Filed OG|Z2|LB Page 7 of 15




             (2) to use reasonable efforts to determine the nature
             and location of the books and records, client lists, ac-
             count statements, financial and accounting documents,
             computers, computer hard drives, computer disks, in-
             ternet exchange servers, telephones, personal digital
             devices and other informational resources, of whatever
             kind and description, wherever located, in possession
             of the Receivership Defendants, or issued by the Re-
             ceivership Defendants and in possession of third par-
             ties ("Receivership Records");
             (3) to take custody, control, and possession of all Re-
             ceivership Property, Receivership Records, and any as-
             sets traceable to assets owned by the Receivership Es-
             tate; and, with prior approval of this Court upon ex
             parte request, institute such actions or proceedings to
             impose a constructive trust, to sue for and collect re-
             cover, receive or take into possession from third parties
             all Receivership Property, Receivership Records, and
             any assets traceable to assets of the Receivership Es-
             tate;
             (a) to manage, control, operate, and maintain the Re-
             ceivership Estate and hold in her possessiory custody,
             and control all Receivership Property, pending further
             Order of this CourU
             (5) to open bank accounts for the Receivership Defend-
             ants;

             (6) to use Receivership Property for the benefit of the
             Receivership Estate, making payments and disburse-
             ments and incurring expenses as may be necessary or
Case: 1:18-cv-04510 Document #: 1 Filed: 06/28/18 Page 21 of 28 PageID #:21
  Case 3: 1-8-cv-00252-CWR-FKB Document 33 Filed O5l22lt8 Page 8 of 15




             advisable in the ordinary course of business        in dis-
             charging her duties as Receiver;
             (7) to take any action which, prior to the entry of this
             Order, could have been taken by the officers, manag-
             ers, and agents of and relating to the Receivership De-
             fendants; including the termination of any personnel
             that the Receiver deems appropriate;
             (8) to terminate any and all leases of the Receivership
             Defendants'personal or real property, or to sell any of
             the Receivership Defendants' personal or real prop-
             erty;
             (9) to access all of the Receivership Defendants' bank
             accounts, securities accounts, and IT systems;

             (10) to collect any management or advisory fees due
             and owing to the Receivership Defendant;
             (11) to produce Receivership Defendants' records and
             to share information as reasonably requested with the
             staff of the Commission without a subpoena;
             (12)with this Court's approval, to engage and employ
             persons in her discretion to assist her in carrying out
             her duties and responsibilities hereunder, including
             but not limited to accountants, attorneys, securities
             traders, registered representatives, financial or busi-
             ness advisers, liquidating agents, real estate agents, fo-
             rensic experts, brokers, traders, or auctioneers;
             (13) to take such action as necessary and appropriate
             for the preservation of Receivership Property or to pre-
             vent the dissipation or concealment of Receivership
             Property;
Case: 1:18-cv-04510 Document #: 1 Filed: 06/28/18 Page 22 of 28 PageID #:22
  Case 3:1-8-cv-00252-CWR-FKB Document 33 Filed O5l22lt8 Page 9 of 1-5




             (1a) to obtain, by presentation of this Order, docu-
             ments, books, records, accounts, deposits, testimony,
             or other information within the custody or control of
             any person or entity sufficient to identify accounts,
             properties, assets, liabilities, or agents of and relating
             to the Receivership Estate or Receivership Defendants;
             (15) without further order of this Court, to issue sub-
             poenas for documents and testimony consistent with
             the Federal Rules of Civil Procedure;
             (16) to investigate and,following this Court's approval
             upon ex parte request, to bring such legal actions based
             on law or equity in any state, federal, or foreign court
             as the Receiver deems necessary or appropriate in dis-
             charging her duties as Receiver;
             (17) following this Court's approval upon ex parte re-
             quest, to file a petition in bankruptry for either or both
             the Receivership Defendants       if   the Receiver deter-
             mines it to be necessary; and
             (18) to take such other action as may be approved by
             this Court.
                                         II
                     Duty to File Recommendation & Report
          Within 60 days, the Receiver shall file a report with the Court
          as to the status of the Receivership Estate. Such report shall
          include:
             (L) a description of all known assets of the Receivership
             Estate, their locatiory and to the extent possible, the Re-
             ceiver's good faith estimate of the value of those assets;
Case: 1:18-cv-04510 Document #: 1 Filed: 06/28/18 Page 23 of 28 PageID #:23
 Case 3:1-8-cv-00252-CWR-FKB Document 33 Filed OGl22l18 Page 10 of 15




             (2) a list of secured creditors and other financial insti-
             tutions with an interest in the Receivership Estate;
             (3) to the extent practicable, a   list of investors in the se-
             curities sold by the Receivership Defendants;
             (4) any other known liabilities of the Receivership Es-
             tate;

             (5) the Receiver's  preliminary plan for the administra-
             tion of the Receivership Estate, including a recommen-
             dation regarding whether bankruptcy cases should be
             filed for all or a portion of the assets subject to the re-
             ceivership, a recommendation as to the appropriate-
             ness of forfeifure proceedings for any assets subject to
             the receivership, and a recommendation as to whether
             litigation against third parties should be commenced
             on a contingent fee basis to recover assets for the ben-
             efit of the receivership;
             (6) to the extent not provided in response to the prior
             subject matters, the Receiver's preliminary recommen-
             dation as to the most reasonable and efficient methods
             for recovery, liquidatiory and distribution of the Re-
             ceivership Estate;
             (7) the Receiver's recommendation as to whether the
             receivership created by this Order should be continued
             and the benefits of any such action; and
             (8) any additional   information that the Receiver deems
            relevant.
         Upon consideration of this report, the Court shall consider
         whether to terminate the receivership or order such other re-
         lief as it deems appropriate.


                                         10
Case: 1:18-cv-04510 Document #: 1 Filed: 06/28/18 Page 24 of 28 PageID #:24
 Case 3:1-8-cv-00252-CWR-FKB Document 33 Filed 06122118 Page 11- of 15




                                          III
                Iniunction Against Interference with Receiver
         The Receivership Defendants and all persons receiving notice
         of this Order by personal service, facsimile, or otherwise, are
         hereby restrained and enjoined from directly or indirectly tak-
         ing any action or causing any action to be taken, without the
         express written agreement of the Receiver, which would:

             (L) interfere with the Receiver's efforts to take control,
             possessiory or management of any Receivership Prop-
             erty; such prohibited actions include but are not lim-
             ited to, using self-help or executing or issuing or caus-
             ing the execution or issuance of any court attachment
             subpoena, replevin, executiory or other process for the
             purpose of impounding or taking possession of or in-
             terfering with or creating or enforcing a lien upon any
             Receivership Property;
                                                        with the Re-
             (2) hinder, obstruct, or otherwise interfere
             ceiver in the performance of her duties; such prohib-
             ited actions include but are not limited to concealing,
             destroying, or altering records or information;
             (3) dissipate or otherwisediminish the value of any Re-
            ceivership Property; such prohibited actions include
            but are not limited to releasing claims or disposing,
            transferring, exchanging, assigning, or in any way con-
            veying any Receivership Property, enforcing jrdg-
            ments, assessments or claims against any Receivership
            Property or any Receivership Defendant, attempting to
            modify, cancel, terminate, call, extinguish, revoke, or
            accelerate the due date of any lease, loary mortgage, in-
            debtedness, security agreement, or other agreement


                                          77
Case: 1:18-cv-04510 Document #: 1 Filed: 06/28/18 Page 25 of 28 PageID #:25
 Case 3:18-cv-00252-CWR-FKB Document 33 Flled 06122118 Page 12 ol \5




             executed by any Receivership Defendant or which oth-
             erwise affects any Receivership Property; or
                      with or harass the Receiver, or interfere in
             (4) interfere
             any manner with the exclusive jurisdiction of this
             Court over the Receivership Estate.
          The Receivership Defendants and their past or present offic-
          ers, managers, and agents and all persons in active concert or
          participation with them, including any financial institutiory
          shall provide the Receiver immediate access to and control
          and possession of Receivership Records and the Receivership
          Estate's assets, including securities and property of any kind,
          real and personal, as well as all keys, passwords, entry codes,
          and the original of all books, records, documents, accounts,
          computer printouts, disks, and the like.
          The Receivership Defendants shall cooperate with and assist
          the Receiver in the performance of her duties, including by
          promptly acknowledging to third parties the Receiver's au-
          thority to act on behalf of the Receivership Estate and by
          providing such authorizations, signatures, releases, attesta-
          tions, and access as the Receiver may reasonably request.
          The Receiver shall promptly notify the Court and the Com-
          mission of any failure or apparent failure of any person or en-
          tity to comply in any way with the terms of this Order.
                                        IV
                                Stay of Litigation
          The following Ancillary Proceedings, excluding the instant
          proceeding and all police or regulatory actions and actions of
          the Commission related to the above-captioned enforcement
          actiory are stayed until further Order of this Court: all civil


                                        12
Case: 1:18-cv-04510 Document #: 1 Filed: 06/28/18 Page 26 of 28 PageID #:26
 Case 3:18-cv-00252-CWR-FKB Document 33 Filed OGl22lL8 Page 13 of l-5




          legal proceedings of any nature, including but not limited to
          bankruptcy proceedings, arbitration proceedings, foreclosure
          actions, default proceedings, or other actions of any nature in-
          volving:
             (1) the Receiver, in her capacity as Receiver;

             (2) any Receivership Property, wherever located;

             (3) any of the Receivership Defendants, including sub-
             sidiaries and partnerships; or
             (4) any of the Receivership Defendants' or Receiver-
             ship Estate's past or present officers, directors, manag-
             ers, agents, or general or limited partners sued for, or
             in connection with, any action taken by them while act-
             ing in such capacity of any nature, whether as plaintiff,
             defendant third-party plaintiff, third-party defendant,
             or otherwise.
          The parties to any and all Ancillary Proceedings are enjoined
          from commencing or continuing any such legal proceeding,
          or from taking any action, in connection with any such pro-
          ceeding, including but not limited to the issuance or employ-
          ment of process.
          All Ancillary Proceedings are stayed in their entirety, and all
          Courts having any jurisdiction thereof are enjoined from tak-
          ing or permitting any action until further Order of this Court.
          Further, as to a cause of action accrued or accruing in favor of
          one or more of the Receivership Defendants against a third
          person or party, any applicable statute of limitation is tolled
          during the period in which this injunction against commence-
          ment of legal proceedings is in effect as to that cause of action.




                                         13
Case: 1:18-cv-04510 Document #: 1 Filed: 06/28/18 Page 27 of 28 PageID #:27
 Case 3:18-cv-00252-CWR-FKB Document 33 Ftled 06122118 Page 1,4 ot 15




          These provisions bar any person or entity, other than the Re-
          ceiver, from placing either of the Receivership Defendants in
          bankruptcy proceedings.
                                         V
                              Receiver Compensation
          The Receiver is to be paid her reasonable compensation and
          expense reimbursement from the Receivership Estate. Such
          compensation and expense reimbursement shall require the
          prior approval of this Court.
          Within   30 days after the end of each   full month while the Re-
          ceivership is in effect, the Receiver shall apply to this Court
          for compensation and expense reimbursement from the Re-
          ceivership Estate through Monthly Fee Applications.
          Monthly Fee Applications shall contain representations that:
          (i) the fees and expenses included therein were incurred in the
          best interests of the Receivership Estate; and (ii) with the ex-
          ception of her Receivership applicatiory the Receiver has not
          entered into any agreement, written or oral, express or im-
          plied, with any person or entity concerning the amount of
          compensation paid or to be paid from the Receivership Estate,
          or any sharing thereof.
         Monthly Fee Applications will be interim and will be subject
         to cost-benefit and final reviews at the close of the receiver-
         ship. At the close of the receivership, the Receiver will file a
         final fee applicatiory describing in detail the costs and benefits
         associated with all litigation and other actions pursued by the
         Receiver during the course of the receivership.
         Monthly Fee Applications may, in the Court's discretiory be
         subject to a holdback in the amount of 25% of the amount of



                                         L4
Case: 1:18-cv-04510 Document #: 1 Filed: 06/28/18 Page 28 of 28 PageID #:28
 Case 3:1-8-cv-00252-CWR-FKB Document 33 Filed O6l22lL8 Page 1-5 of 1-5




          fees and expenses for each application filed with the Court.
          The total amounts held back during the course of the receiv-
          ership will be paid out at the discretion of the Court as part of
          the final fee application submitted at the close of the receiver-
          ship.
          At the close of the receivership, the Receiver shall submit     a
          Final Accounting, in a format to be provided by Commission
          staff, as well as the Receiver's final application for compensa-
          tion and expense reimbursement.
          This Order supersedes prior orders of this Court only to the
          extent they conflict.
          SO ORDERED, this the 22nd day of ]une, 2078.

                                                   s/ CanlroN W. RpEvss
                                               United States District ludge




                                         15
